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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :                 2/4/2019
 JANE DOE, et al.,                                             :
                                              Plaintiffs,      :
                                                               :      18 Civ. 9936 (LGS)
                            -against-                          :
                                                               :            ORDER
 THE TRUMP CORPORATION, et al.,                                :
                                              Defendants. :
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LORNA G. SCHOFIELD, District Judge:

          WHEREAS, on January 14, 2019, Defendants filed a motion to dismiss the Complaint

(Dkt. No. 63);

          WHEREAS, on January 31, 2019, Plaintiffs filed the Amended Complaint (Dkt. No. 77);

          WHEREAS, Defendants wish to file a motion to dismiss the Amended Complaint (see

Dkt. No. 79). It is hereby

          ORDERED that Defendants shall file their motion to dismiss the Amended Complaint

by February 21, 2019, Plaintiffs shall file their opposition by March 7, 2019, and Defendants

shall file their reply by March 14, 2019. The parties are limited to thirty pages for their

memoranda in support of and in opposition to the motion, and twelve pages for the reply. It is

further

          ORDERED that Defendants’ motion to dismiss the Complaint (Dkt. No. 63) is DENIED

as moot.

          The Clerk of Court is respectfully directed to close the motion at Docket No. 63.



Dated: February 4, 2019
       New York, New York
